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12
     Attorneys for Hideit Mounts, Inc.
13

14                              UNITED STATES DISTRICT COURT
15
                                         DISTRICT OF NEVADA
16
     HIDEIT MOUNTS, INC.,                                Case No. 3:21-cv-00401-MMD-CLB
17
                           Plaintiff,                    STIPULATED MOTION FOR EXTENSION
18
                                                         OF TIME TO ANSWER OR OTHERWISE
19                  v.                                   RESPOND TO COMPLAINT

20   INCOGNEATO, LLC AND NEIL                            JURY DEMAND
     ANEJA,
21
                           Defendants.
22

23

24          Plaintiff Hideit Mounts, Inc. and Defendants InCogNeato, LLC and Neil Aneja,

25   respectfully move this court for an order extending the deadline by which Defendants may

26   answer or otherwise respond to the Complaint filed in this matter. This is a stipulated motion

27   made pursuant to FRCP Rule 6(a)(1)(b), on the basis of good cause, and on the following:

28              1. Plaintiff filed their Complaint on September 3, 2021 [ECF No. 1].

                                                     1
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1
                2. Defendants were each served on or before September 24, 2021, which established
2
                    October 15, 2021 as the date by which Defendants were to answer or otherwise
3
                    respond to the Complaint.
4
                3. Prior to October 15, 2021, defendants Neil Aneja and InCogNeato LLC requested
5
                    an extension of 30-days to respond to Plaintiff’s Complaint, to permit them each
6
                    to obtain representation in this matter.
7
            For the reasons stated above, the parties agree and stipulate that a 30-day extension until
8
     November 14, 2021 for InCogNeato, LLC and Neal Aneja to answer or otherwise respond to
9
     Plaintiff’s Complaint is appropriate.
10

11          DATED this 14th day of October, 2021.
12                                                 Respectfully submitted,
13

14                                                 By:/s/ Brian N. Platt
                                                   TIMOTHY D. NICHOLS
15                                                 (Admitted pro hac vice)
                                                   BRIAN N. PLATT (Admitted pro hac vice)
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21                                                 800 South Meadows Parkway, Suite 800
                                                   Reno, Nevada 89521
22

23                                                 Counsel for Plaintiff Hideit Mounts, Inc.
24
                                                        IT IS SO ORDERED.
25
                                                        Dated: October 14, 2021
26

27
                                                        _____________________________________
28                                                      UNITED STATES MAGISTRATE JUDGE
                                                      2
          Case 3:21-cv-00401-MMD-CLB Document 18 Filed 10/14/21 Page 3 of 3




1                                    CERTIFICATE OF SERVICE
2           I hereby certify that on the 14th day of October, 2021, I electronically filed the foregoing
3
     STIPULATED MOTION FOR EXTENSION OF TIME with the Clerk of the Court using the
4
     CM/ECF System, and served same filing on the following:
5
            InCogNeato, LLC
6           neil.aneja@gmail.com
7           433 Day Ave.
            Roanoke, VA 24016
8
            Neil Aneja
9           neil.aneja@gmail.com
            433 Day Ave.
10          Roanoke, VA 24016
11

12

13                                                /s/ Jennifer Hunter

14

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